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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION


IN RE: POWERSCHOOL HOLDINGS, INC.,
AND POWERSCHOOL GROUP, LLC
CUSTOMER DATA SECURITY BREACH                                                            MDL No. 3149


                                        TRANSFER ORDER


        Before the Panel: * Plaintiffs in the Western District of Missouri J.I. action listed on
Schedule A move under 28 U.S.C. § 1407 to centralize this litigation in the Western District of
Missouri. This litigation consists of 32 actions pending in three districts, as listed on Schedule A.
In addition, the parties have informed the Panel of 23 related actions pending in eight districts. 1
        Most responding parties support centralization. Defendants PowerSchool Holdings, Inc.,
and PowerSchool Group LLC (collectively “PowerSchool”), and the responding plaintiffs in all
but six cases support or do not oppose centralization. 2 There is less agreement on selection of the
transferee district. PowerSchool requests centralization in the Eastern District of California or the
Northern District of California. Plaintiffs in more than 30 actions likewise support centralization
in those two districts, in the first instance or in the alternative. Other plaintiffs, as their primary or
alternative position, request centralization the Western District of Missouri, Southern District of
California, Central District of California, Northern District of Illinois, Eastern District of New
York, Middle District of North Carolina, or District of Minnesota.
        On the basis of the papers filed and the hearing session held, we find that the actions listed
on Schedule A involve common questions of fact, and that centralization in the Southern District
of California will serve the convenience of the parties and witnesses and promote the just and
efficient conduct of this litigation. These actions share factual questions arising from a recent
cybersecurity incident involving unauthorized access to PowerSchool’s Student Information
System software, which schools use to store current and former students’ and staff members’


* Judge Roger T. Benitez did not participate in the decision of this matter. One or more Panel
members who could be members of the putative classes in this litigation have renounced their
participation in these classes and have participated in this decision.
1
 These and any other related actions are potential tag-along actions. See Panel Rules 1.1(h), 7.1,
and 7.2.

2The six cases are the E.D. California Buack-Shelton, Vargha, Brown, and Greci actions listed on
Schedule A, and the potential tag-along actions Joseph v. PowerSchool Holdings, Inc., No. 25-
0517 (E.D. Cal.), and Hisserich v. PowerSchool Group LLC, No. 25-0444 (E.D. Cal.).
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personal information. Plaintiffs are students, students’ guardians, and school staff seeking
certification of overlapping nationwide and statewide class actions of individuals affected by the
data breach. The actions involve virtually identical claims for negligence, breach of contract, and
unjust enrichment. Discovery in all actions will focus on how and when the breach occurred, the
sufficiency of PowerSchool’s data security practices, and how and when PowerSchool notified
breach victims. Centralization will avoid the possibility of inconsistent pretrial rulings,
particularly with respect to class certification. With a total of 55 cases pending in nine districts,
centralization will provide efficiencies and conserve the resources of the parties, witnesses, and
courts.
        Plaintiffs in the Eastern District of California Buack-Shelton, Vargha, Brown, and Greci
actions, as well as plaintiffs in the Eastern District of California Joseph and Hisserich related
actions, maintain that informal coordination is feasible. They argue that the 41 Eastern District of
California cases will soon be consolidated before a single judge, effectively leaving only fourteen
additional cases spread across eight other district courts. They maintain that the Panel previously
has declined to centralize in comparable circumstances. 3
         We are not persuaded that informal coordination is the most efficient route to resolving this
litigation. None of the parties have moved under Section 1404 to transfer the actions to a common
district. Moreover, the decisions cited by opponents of centralization are readily distinguishable.
In most, motions for transfer via Section 1404 had been filed; in some, such motions already had
been granted. Three of the four involved fewer than five actions. See StockX, 412 F. Supp. 3d at
1365 (denying centralization of three actions pending in three districts); [24]7.AI, 338 F. Supp. 3d
at 1347 (same); Hudson’s Bay, 326 F. Supp. 3d at 1373 (denying centralization of four actions
pending in two districts). In the lone case where the motion encompassed more than twenty
actions, “all responding parties represented that they were amenable to Section 1404(a) transfer in
the absence of Section 1407 centralization.” Best Buy, 804 F. Supp. 2d at 1378. Here, there is no
similar assurance that any Section 1404 motions—if filed—will be uncontested.
        The Southern District of California is an appropriate transferee district for this litigation.
A potential tag-along action is pending in the district, and related state court litigation is pending
in San Diego Superior Court. Centralization in this district encourages the efficient coordination
of state and federal proceedings. Judge Roger T. Benitez, to whom we assign this MDL, is an
experienced jurist well-versed in the nuances of multidistrict litigation. We are confident that he
will steer this litigation on a prudent and expeditious course.
       IT IS THEREFORE ORDERED that actions listed on Schedule A are transferred to the
Southern District of California and, with the consent of that court, assigned to the Honorable Roger
T. Benitez for coordinated or consolidated pretrial proceedings.



3See, e.g., In re StockX Customer Data Sec. Breach Litig., 412 F. Supp. 3d 1363 (J.P.M.L. 2019);
In re [24]7.AI, Inc., Customer Data Sec. Breach Litig., 338 F. Supp. 3d 1345 (J.P.M.L. 2018); In
re Hudson’s Bay Co. Customer Data Sec. Breach Litig., 326 F. Supp. 3d 1372 (J.P.M.L. 2018); In
re Best Buy Co., Cal. Song-Beverly Credit Card Act Litig., 804 F. Supp. 2d 1376 (J.P.M.L. 2011).
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                      PANEL ON MULTIDISTRICT LITIGATION




                                     Karen K. Caldwell
                                         Chair

                   Nathaniel M. Gorton           Matthew F. Kennelly
                   David C. Norton               Dale A. Kimball
                   Madeline Cox Arleo
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IN RE: POWERSCHOOL HOLDINGS, INC.,
AND POWERSCHOOL GROUP, LLC
CUSTOMER DATA SECURITY BREACH                                  MDL No. 3149


                                  SCHEDULE A

                Eastern District of California

     BUACK-SHELTON, ET AL. v. POWERSCHOOL HOLDINGS, INC.,
             C.A. No. 2:25í00093
     BAKER v. POWERSCHOOL HOLDINGS, INC. ET AL., C.A. No. 2:25í00096
     KINNEY v. POWERSCHOOL HOLDINGS, INC., C.A. No. 2:25í00098
     VARGHA v. POWERSCHOOL HOLDINGS, INC., C.A. No. 2:25í00110
     F.C. v. POWERSCHOOL GROUP LLC ET AL., C.A. No. 2:25í00136
     GILES v. POWERSCHOOL HOLDINGS, INC., C.A. No. 2:25í00139
     STRELZIN v. POWERSCHOOL GROUP, LLC ET AL., C.A. No. 2:25í00140
     A.A. v. POWERSCHOOL HOLDINGS, INC. ET AL., C.A. No. 2:25í00141
     E.H. v. POWERSCHOOL HOLDINGS, INC., C.A. No. 2:25í00152
     PETTINGER ET AL. v. POWERSCHOOL GROUP LLC ET AL., C.A. No. 2:25í00159
     MARTINEZ-TURNBOW v. POWERSCHOOL HOLDINGS, INC.,
             C.A. No. 2:25í00165
     CROCKRAN v. POWERSCHOOL HOLDINGS, INC., C.A. No. 2:25í00171
     HABBAL ET AL. v. POWERSCHOOL HOLDINGS, INC., C.A. No. 2:25í00173
     MAYFEILD v. POWERSCHOOL GROUP, LLC, ET AL., C.A. No. 2:25í00203
     AREDE v. POWERSCHOOL HOLDINGS, INC., C.A. No. 2:25í00204
     GRIFFIN v. POWERSCHOOL GROUP LLC, C.A. No. 2:25í00206
     WHITE v. POWERSCHOOL HOLDINGS, INC., C.A. No. 2:25í00207
     GRECI ET AL. v. POWERSCHOOL HOLDINGS, INC., C.A. No. 2:25í00208
     LA COUNT ET AL. v. POWERSCHOOL HOLDINGS, INC. ET AL.,
             C.A. No. 2:25í00209
     KEIGLEY v. POWERSCHOOL GROUP LLC ET AL., C.A. No. 2:25í00210
     CHAMPNEY ET AL. v. POWERSCHOOL HOLDINGS, INC., C.A. No. 2:25í00211
     SCHWARTZ v. POWERSCHOOL HOLDINGS, INC., C.A. No. 2:25í00230
     OKONI v. POWERSCHOOL GROUP, LLC ET AL., C.A. No. 2:25í00231
     FLICK ET AL. v. POWERSCHOOL HOLDINGS, INC. ET AL., C.A. No. 2:25í00232
     FAIRCLOTH v. POWERSCHOOL GROUP LLC ET AL., C.A. No. 2:25í00252
     BROWN ET AL. v. POWERSCHOOL HOLDINGS, INC., C.A. No. 2:25í00256
     ZARIF v. POWERSCHOOL HOLDINGS, INC. ET AL., C.A. No. 2:25í00259
     GRAMELSPACHER v. POWERSCHOOL HOLDINGS, INC. ET AL.,
             C.A. No. 2:25í00271
     CAMPBELL v. POWERSCHOOL HOLDINGS, INC. ET AL., C.A. No. 2:25í00310

                Western District of Missouri

     KRUTSINGER v. POWERSCHOOL HOLDINGS, INC. ET AL., C.A. No. 4:25í00057
     J.I. ET AL. v. POWERSCHOOL, C.A. No. 4:25í04006
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            Eastern District of New York

J.B. ET AL. v. POWERSCHOOL HOLDINGS, INC., C.A. No. 2:25í00327
